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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION
Berkeley County School Board of Trustees,        ) Civil Action No.: 2:18-cv-00151-DCN
                                                 )
       Plaintiff,                                )
                                                 )
                      v.                         ) DEFENDANT SCOTT POKORNEY’S
                                                 )   RESPONSE IN SUPPORT OF HUB
Hub International Limited, Hub International     )       DEFENDANTS’ MOTION TO
Midwest Limited, Hub International Southeast,    )        ENFORCE ARBITRATION
Knauff Insurance Agency, Inc., Stanley J.        )              AGREEMENTS
Pokorney, Scott Pokorney, and Brantley           )
Thomas,                                          )
                                                 )
       Defendants                                )
                                                 )

       Defendant Scott Pokorney, by and through his undersigned counsel, hereby files this

Response in Support of Defendants Hub International Limited and Hub International Midwest

Limited’s (collectively referred to hereinafter as “Hub Defendants”) Motion to Enforce

Arbitration Agreements (ECF Doc. No. 23) and incorporates the arguments made therein. As set

forth in the Hub Defendants’ Motion, there is an enforceable arbitration provision applicable to

all of Plaintiff’s claims, and the entirety of Plaintiff’s claims must be arbitrated together,

including the claims asserted against Scott Pokorney.

                                      INTRODUCTION

       Plaintiff, Berkeley County School Board of Trustees, alleges Defendants were engaged in

a scheme whereby Brantley Thomas, the former Chief Financial Officer of the Berkeley County

School District, together with the Hub Defendants, Knauff Insurance Agency, Inc. (“Knauff”),

Stanley J. Pokorney and Scott Pokorney, defrauded the Berkeley County School District into

purchasing allegedly unnecessary insurance.        Plaintiffs contend that Thomas procured

unnecessary insurance from Knauff and the Hub Defendants through their brokers and/or agents,


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Stanley Pokorney and Scott Pokorney.         In exchange, Plaintiff alleges Brantley received

kickbacks.

       Although the Complaint fails to mention them, Plaintiff entered into various Brokerage

Services Agreements with Knauff which contain arbitration provisions. As Knauff’s successor-

in-interest, the Hub Defendants are entitled to invoke the arbitration provisions and compel

arbitration of Plaintiff’s claims even though they are not signatories to the agreements.

Similarly, despite also being a nonsignatory, Scott Pokorney may also enforce the arbitration

agreements because he is an agent of the Hub Defendants and the allegations against him relate

to services he provided pursuant to the Brokerage Service Agreements. Thus, for the reasons set

forth in the Hub Defendants’ Motion, as well as the additional arguments set forth herein, Scott

Pokorney requests that this Court compel arbitration of all Plaintiff’s claims and stay

proceedings in this matter during the pendency of arbitration.

                                         ARGUMENT

       Though the Complaint contains scant allegations against Scott Pokorney, the claims

against him appear to be based upon his alleged conduct as an employee, executive and/or agent

of the Hub Defendants. See Compl. at ¶¶ 9, 94, and 96. As a result, even though Scott Pokorney

is not a signatory to the Brokerage Service Agreements containing the relevant arbitration

provisions, he may also enforce the arbitration agreements because the allegations in the

Complaint relate directly to services provided pursuant to those agreements.

       THE COURT SHOULD ENFORCE THE ARBITRATION PROVISIONS                       AS TO   SCOTT
       POKORNEY, A NONSIGNATORY TO THE AGREEMENTS.

       Courts have consistently held that nonsignatories to an arbitration agreement may be

bound by and enforce agreements to arbitrate. See Letizia v. Prudential Bache Sec., Inc., 802

F.2d 1185, 1187 (9th Cir. 1986); Int’l Paper Co. v. Schwabedissen Maschinen & Anlagen


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GMBH, 206 F.3d 411, 416-17 (4th Cir. 2000). This rule is an outgrowth of the clear federal

policy favoring arbitration. See Letizia, 802 F.2d at 1187; see also Dean Witter Reynolds, Inc. v.

Byrd, 470 U.S. 213, 221, 105 S. Ct. 1238, 1242, 84 L. Ed. 2d 158 (1985) (the Federal Arbitration

Act requires courts to “rigorously enforce agreements to arbitrate”). It is especially applicable

when, as here, a nonsignatory seeks to compel a signatory to arbitrate. See Letizia, 802 F.2d at

1187. Courts recognize at least two circumstances where a nonsignatory to an agreement can

compel arbitration. See PRM Energy Sys., Inc. v. Primenergy, L.L.C., 592 F.3d 830, 834 (8th

Cir. 2010) (citing CD Partners, LLC v. Grizzle, 424 F.3d 795, 798 (8th Cir. 2005)). “The first

relies on agency and related principles to allow a nonsignatory to compel arbitration when, as a

result of the nonsignatory's close relationship with a signatory, a failure to do so would

eviscerate the arbitration agreement.” Id.; see also Nesslage v. York Secs., Inc., 823 F.2d 231,

233 (8th Cir.1987) (permitting a nonsignatory to compel arbitration where it was the “disclosed

agent” of a signatory). The second theory, often termed “alternative estoppel,” “relies, at least in

part, on the claims being so intertwined with the agreement containing the arbitration clause that

it would be unfair to allow the signatory to rely on the agreement in formulating its claims but to

disavow availability of the arbitration clause of that same agreement.” Id. (citing Sunkist Soft

Drinks, Inc. v. Sunkist Growers, Inc., 10 F.3d 753, 757 (11th Cir. 1993)). Both circumstances

are present in this case.

        A.       As an agent of the Hub Defendants, Scott Pokorney is entitled to compel
                 arbitration.

        Although Scott Pokorney was never employed by Knauff, and again, while Plaintiff’s

claims against Scott Pokorney are vague and poorly pled, they appear to arise out of alleged

conduct while he was acting as an employee or agent of the Hub Defendants. The law is clear

that a “successor-in-interest may enforce an arbitration agreement.” Cheraghi v. MedImmune,


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LLC, No. 8:11-CV-01505(AW), 2001 WL 6047059, at *5 (D. Md. Dec. 5, 2011); see also Hub

Mem., ECF Doc. No. 23 at pp. 8-10. Consequently, Scott Pokorney is also entitled to arbitrate

the claims brought against him because he was an employee and agent of Hub International

Midwest Limited, the successor to Knauff, the entity which entered into the agreements

containing arbitration provisions. As such, the relationship between Scott Pokorney and the Hub

Defendants is sufficiently close to satisfy the agency test adopted by courts. See Pritzker v.

Merrill Lynch, Pierce, Fenner & Smith, Inc., 7 F.3d 1110, 1121 (3d Cir. 1993) (stating under

traditional agency theory if “a principal is bound under the terms of a valid arbitration clause, its

agents, employees, and representatives are also covered under the terms of such agreements.”).

       B.        The claims against Scott Pokorney relate to services provided pursuant to
                 the Brokerage Service Agreements, and thus, he is entitled to compel
                 arbitration.

       This case also satisfies the estoppel test adopted by a majority of courts, including this

District and the Fourth Circuit. See Hinson v. Jusco Co., 868 F. Supp. 145, 149 (D.S.C. 1994)

(citing J.J. Ryan & Sons v. Rhone Poulenc Textile, 863 F.2d 315, 319 (4th Cir. 1988)). In

Hinson, this Court stated that “[t]he Fourth Circuit has expressed a clear policy in favor of

arbitrating claims against non-parties to an arbitration agreement if those claims are based on the

same alleged facts underlying claims against a party to the agreement.” See id. Thus, when

there is a common dispute between parties, “an arbitration agreement must be enforced

notwithstanding the presence of other persons who are parties to the underlying dispute but not

to the arbitration agreement.” Hinson, 868 F. Supp. at 149. As the Seventh Circuit held,

       [w]hether a particular claim is arbitrable depends not upon the characterization of
       the claim, but upon the relationship of the claim to the subject matter of the
       arbitration clause. Were the rule otherwise, a party could frustrate any agreement
       to arbitrate simply by the manner in which it framed its claims.




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In re Oil Spill by Amoco Cadiz Off Coast of France Mar. 16, 1978, 659 F.2d 789, 794 (7th Cir.

1981). Plaintiff alleges a 16-year conspiracy, and services during that period were provided

pursuant to agreements that contained arbitration provisions. Because Plaintiff’s claims against

Scott Pokorney clearly arise out of and are related to the Brokerage Service Agreements and the

services provided pursuant to those agreements, the claims should be submitted to arbitration.

See PRM Energy Sys., Inc. v. Primenergy, L.L.C., 592 F.3d 830, 834 (8th Cir. 2010) (finding

“the nature of the alleged misconduct and its connection to the contract demonstrates the

requisite relationships between persons, wrongs, and issues necessary to compel arbitration.”);

E.I. DuPont de Nemours & Co. v. Rhone Poulenc Fiber & Resin Intermediates, S.A.S., 269 F.3d

187, 199 (3d Cir. 2001) (compelling arbitration after examining “the close relationship between

the entities involved, as well as the relationship of the alleged wrongs to the nonsignatory's

obligations and duties in the contract and the fact that the claims were intimately founded in and

intertwined with the underlying contract obligations.”).

       C.        Courts have recognized a nonsignatory’s ability to invoke arbitration in
                 factually similar cases.

       In factually similar cases, courts have repeatedly held that agents or employees of parties

entitled to arbitration may also invoke arbitration. In Letizia, the Ninth Circuit held that a

broker’s employees, nonsignatories to a brokerage agreement containing an arbitration clause,

were entitled to enforce the arbitration clause in the plaintiff’s action against the broker and its

employees for fraud and violations of federal securities law. See Letizia 802 F.2d at 1187-88. In

Arnold v. Arnold Corp.-Printed Commc'ns For Bus., 920 F.2d 1269, 1282 (6th Cir. 1990), a

shareholder filed suit against a corporation and its officers alleging among other claims, RICO

violations.   The Sixth Circuit, holding that an arbitration clause should be enforced, also

extended the scope of the arbitration agreement to the nonsignatory officers who were deemed


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agents of the corporation. See Arnold, 920 F.2d at 1281-82. In Nesslage v. York Securities, Inc.,

the Eighth Circuit held an account representative was entitled to arbitrate a dispute with a client

despite not signing the document containing the arbitration provision. 823 F.2d 231, 233 (8th

Cir. 1987). There, the account representative’s actual employer was not even a signatory to the

agreement. Rather, the employer was a disclosed agent of the entity which had signed the

agreement containing the arbitration provision.

       Here, similar to the cases cited above, the alleged wrongs of Scott Pokorney relate to his

handling of Plaintiff’s insurance needs as an employee and agent of the Hub Defendants. The

arbitration agreements in this matter evidence an intent to provide a single arbitral forum to

resolve all disputes, claims or controversies relating to the Brokerage Service Agreements, or the

services provided under the agreements.       Plaintiff is bound by those agreements and the

arbitration provisions contained therein. Because a valid arbitration agreement exists, this Court

should follow the well-settled principle which affords employees and others involved in a

common dispute the ability to compel arbitration pursuant to an agreement entered into by a

plaintiff. Allowing a plaintiff to avoid the practical consequences of an agreement to arbitrate by

naming nonsignatory successors, agents or employees, would, in effect, nullify established

precedent favoring arbitration. See Arnold, 920 F.2d at 1281.

                                        CONCLUSION

       For the foregoing reasons and for those set forth in the Hub Defendants’ Motion to

Enforce Arbitration Agreements (ECF Doc. No. 23), Scott Pokorney respectfully asserts that this

Court should compel arbitration of all Plaintiff’s claims, including those brought against Scott

Pokorney, and stay this action during the pendency of arbitration.




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                                        s/Robert H. Jordan
                                        Robert H. Jordan (Fed ID No. 06986)
                                        Email: robertjordan@parkerpoe.com
                                        Amanda C. Williams (Fed ID No. 10218)
                                        Email: amandawilliams@parkerpoe.com
                                        PARKER POE ADAMS & BERNSTEIN LLP
                                        200 Meeting Street, Suite 301
                                        Charleston, SC 29401
                                        Phone: 843-727-2650
                                        Fax: 843-727-2680

                                        ATTORNEYS FOR DEFENDANT SCOTT
March 12, 2018                          POKORNEY
Charleston, South Carolina




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